                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              WESTERN DIVISION

 UNITED STATES OF AMERICA,

                               Plaintiff,

        v.                                         Case No. 18-00293-02-CR-W-DGK

 TREVOR SCOTT PARKS,

                               Defendant.

                     MOTION OF THE UNITED STATES FOR A
                   PRETRIAL DETENTION HEARING PURSUANT
                TO TITLE 18, UNITED STATES CODE, SECTION 3142(f)

       Comes now the United States of America, by Timothy A. Garrison, United States Attorney,

and the undersigned Assistant United States Attorney, both for the Western District of Missouri,

and hereby moves the Court to detain defendant without bail pending trial of this matter and to

hold a hearing pursuant to Title 18, United States Code, Section 3142(f) for the purpose of

demonstrating that no condition or combination of conditions of release will reasonably assure the

defendant’s appearance as required by the Court and the safety of other persons and the

community.

                               SUPPORTING SUGGESTIONS

       I. Subsection 3142(f), Title 18, United States Code, provides that a hearing must be held

by the appropriate judicial officer to determine whether any condition or combination of conditions

will reasonably assure the defendant’s appearance and the safety of any other person in the

community if the attorney for the government moves for such a hearing and if the case is in any

one of the following categories:

       A. The case involves a crime of violence, a term defined to include either:




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                         1. An offense that has as an element the use, attempted use, or threatened

                  use of physical force against the person or property of another; or

                         2. Any other offense that is a felony and by its nature involves a substantial

                  risk that physical force against the person or property of another may be used in the

                  course of its commission.

         B. The case involves an offense where the maximum sentence is life imprisonment or

death.

         C.    The case is a narcotics case under Title 21, United States Code, for which

imprisonment for ten years or more is prescribed.

         D. Any felony, even a nonviolent felony not involving drugs, if the person already has

two or more convictions for a crime of violence, a crime punishable by life imprisonment, or a ten

year drug felony.

         E. Any felony that is not otherwise a crime of violence that involves a minor victim or

that involves the possession or use of a firearm or destructive device (as those terms are defined in

section 921), or any other dangerous weapon, or involves a failure to register under section 2250

of title 18, United States Code.

         II. The statute recognizes two additional situations which allow for a detention hearing

and which can be raised either by the attorney for the government or by a judicial officer. These

conditions are:

         A. When there is a serious risk that the defendant will flee; or

         B. When there is a serious risk that the person will “obstruct or attempt to obstruct justice,

or threaten, injure, or intimidate, or attempt to threaten, injure, or intimidate, a prospective witness

or juror.”



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       III. One or more grounds for a pretrial detention hearing as set forth by the statute exists

in the above cause.

                                                      Respectfully submitted,

                                                      Timothy A. Garrison
                                                      United States Attorney

                                             By       /s/ Bruce Rhoades

                                                      Bruce Rhoades
                                                      Assistant United States Attorney
                                                      Narcotics & Violent Crimes Unit

                                                      Charles Evans Whittaker Courthouse
                                                      400 East Ninth Street, Suite 5510
                                                      Kansas City, Missouri 64106
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                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a copy of the foregoing was delivered on
December 18, 2018, to the Electronic Filing System (CM/ECF) of the United States District Court
for the Western District of Missouri for electronic delivery to all counsel of record.


                                                      /s/ Bruce Rhoades
                                                      Bruce Rhoades
                                                      Assistant United States Attorney




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